      Case 22-11836-pmm Doc 50-1 Filed 07/21/23 Entered 07/21/23 13:12:14                             Desc
                      Exhibit - Mailed Notice of Default Page 1 of 1

                                        KML LAW GROUP, P.C.
                                   THE BNY INDEPENDENCE CENTER
                                   701 MARKET STREET SUITE– 5000
                                       PHILADELPHIA, PA 19106
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                                                March 3, 2023

Brad J Sadek
1500 JFK Boulevard, Ste 220
Philadelphia, PA 19102

RE:       NOTICE OF DEFAULT UNDER COURT APPROVED STIPULATION
          US Bank Trust National Association, Not In Its Individual Capacity But Solely As Owner Trustee
          For VRMTG Asset Trust vs. James C. Jacobs
          Case No. 22-11836 ELF
          Last 4 Digits of Loan No. 0270

Dear Sir or Madam:

      Please be advised that your client is in default under the terms of the Stipulation that was approved by
the Bankruptcy Court. Under the terms of the Stipulation, your client must cure the default within fifteen (15)
days of this Notice.
  • Regular mortgage payments for the months of December 2022 through March 2023, in the amount of
         $924.86 per month;

                The total due is $3,699.44 and must be received on or before March 20, 2023.

  •     The monthly payment for April 2023, is/will be due on the 1st day of the month and is not included in
        the figure listed above.

NOTICE TO BORROWER: Please call your attorney with any questions. We are not permitted under the
Rules of Professional Responsibility to speak with you directly.

     If you have proof that payments were made, fax that proof to our office at 215-825-6406. If payment is
not made, we will file a Certification with the Court and request relief from the Bankruptcy stay.

                                                  KML Law Group, P.C.
                                                  /s/ Denise Carlon
                                                  Denise Carlon, Esquire
                                                  KML Law Group P.C.
                                                  BNY Mellon Independence Center
                                                  701 Market Street, Suite 5000
                                                  Philadelphia, PA 19106
                                                  201-549-5366

cc:       James C. Jacobs
